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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____                                                                      Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street

                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




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Debtor        _______________________________________________________                         Case number (if known)_____________________________________
              Name



                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6.   Type of debtor
                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above


                                          B. Check all that apply:

                                             Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                             Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                         Chapter 7
                                             Chapter 9
                                             Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                       The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                             Chapter 12




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Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases           No
      filed by or against the debtor
      within the last 8 years?              Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases                No
      pending or being filed by a
      business partner or an                Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                            A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have            No
      possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                      Other _______________________________________________________________________________



                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                     )
In re:                                               )    Chapter 11
                                                     )
JOONKO DIVERSITY INC.,1                              )    Case No. 24-_____ (___)
                                                     )
                                     Debtor.         )
                                                     )

                             CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Joonko Diversity Inc., the debtor and debtor-in-possession (the “Debtor”) in the above-

captioned chapter 11 case (the “Chapter 11 Case”), represents as follows with respect to the

Debtor’s corporate ownership:

         1.      Common Stock. No parent corporation or publicly held corporation owns 10% or

more of the Debtor’s common stock.

         2.      Series Seed 1 Preferred Stock. The following entities own 10% or more of the

Debtor’s Series Seed 1 Preferred Stock: Alabama Futures Fund (45.5%); Kapor Capital I, L.P.

(15.9%); and Timberline Holdings (12.5%). 2

         3.      Series Seed 2 Preferred Stock. The following entities own 10% or more of the

Debtor’s Series Seed 2 Preferred Stock: Kapor Capital I, L.P. (34.2%); and Target Global

(28.8%).




1
    The last four digits of Joonko Diversity Inc.’s federal tax identification number are 8337. Joonko Diversity
    Inc.’s service address is 157 Columbus Ave., 4th Floor, New York, NY 10023.
2
    The Series Seed 1 Preferred Stock shown as owned by Timberline Holdings may be held jointly with its
    founder, Mike Goodrich.
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        4.      Series Seed 3 Preferred Stock. The following entities own 10% or more of the

Debtor’s Series Seed 3 Preferred Stock: Alabama Futures Fund (61.0%); Target Global (12.8%);

and Timberline Holdings (24.4%). 3

        5.      Series A-1 Preferred Stock. The following entity owns 10% or more of the

Debtor’s Series A-1 Preferred Stock: Vertex Ventures (79.4%).

        6.      Series A-2 Preferred Stock. The following entities own 10% or more of the

Debtor’s Series A-2 Preferred Stock: Alabama Futures Fund (24.4%); Mitchell Kapor

Foundation (48.8%); and Target Global (13.4%).

        7.      Series B Preferred Stock. The following entities own 10% or more of the

Debtor’s Series B Preferred Stock: Insight Partners (53.2%); Target Global (24.6%); and Vertex

Ventures (13.3%).




3
    The Series Seed 3 Preferred Stock shown as owned by Timberline Holdings may be held jointly with its
    founder, Mike Goodrich.


                                                       2
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      Fill in this information to identify the case:

      Debtor name Joonko Diversity Inc.

      United States Bankruptcy Court for the:                         District of Delaware

      Case number (If known):
                                                                               (State)
                                                                                                                                            Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete mailing             Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
     address, including zip code                       number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                       address of creditor   debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                       contact               professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for        Unsecured
                                                                                                                   partially          value of             claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1     LinkedIn Corporation                             Rob Meade
      1000 W. Maude Avenue                             (402) 739-6193         Trade Debt                                                                  $20,138.27
      Sunnyvale, CA 94085                              rmeade@linkin.com


2     Ms. Ilit Raz                                     James M. Yoch, Jr.
      c/o Young Conaway Stargatt & Taylor, LLP         (302) 576-3584         Indemnification      C/U/D                                                  Unknown
      Rodney Square                                    jyoch@ycst.com
      1000 North King Street
      Wilmington, DE 19801



3




4




5




6




7




8




    Official Form 204            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
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